Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14     Page 1 of 15 PageID #:
                                    10766




                                            S/ Dora L. Irizarry
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 2 of 15 PageID #:
                                    10767
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 3 of 15 PageID #:
                                    10768
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 4 of 15 PageID #:
                                    10769
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 5 of 15 PageID #:
                                    10770
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 6 of 15 PageID #:
                                    10771
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 7 of 15 PageID #:
                                    10772
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 8 of 15 PageID #:
                                    10773
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 9 of 15 PageID #:
                                    10774
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 10 of 15 PageID #:
                                    10775
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 11 of 15 PageID #:
                                    10776
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 12 of 15 PageID #:
                                    10777
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 13 of 15 PageID #:
                                    10778
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14   Page 14 of 15 PageID #:
                                    10779
Case 1:11-cr-00486-DLI   Document 1524 Filed 02/20/14         Page 15 of 15 PageID #:
                                    10780




                                        S/ Dora L. Irizarry
